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                        Exhibit 11
                                                                                                    Case: 1:17-md-02804-DAP Doc #: 1909-14 Filed: 07/19/19 2 of 2. PageID #: 87892
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Actavis (Actavis                                                                                                                                 Teva Pharmaceuticals
Holdco US, Inc.)                                                                                                                                       USA Inc.




                                                                                                                                                    Actavis Holdco
                                                                                                                                                       US, Inc.
                                                                                                                                                         (US)



  Makoff R&D                     Royce           The Rugby Group,                                                                                                                              Watson                        Actavis                             Watson                      Watson Cobalt           Actavis Pharma,
                                                                                  Watson              Nicobrand Limited           Actavis                        Andrx LLC                   Manufacturing                                                  Laboratories, Inc.
Laboratories, Inc.          Laboratories, Inc.         Inc.                   Pharmaceuticals         (Northern Ireland)      Laboratories NY,                   (Delaware)                  Services, Inc.             Laboratories UT,                        [Corona]                     Holdings, LLC                 Inc.
   (California)                 (Florida)           (New York)                  (Asia) Ltd.                                   Inc. [Copiague]                                                 (Delaware)                Inc. (Delaware)                         (Nevada)                      (Delaware)               (Delaware)
                                                                                   (BVI)                                         New York
                                                                                                                                                                                                                                                                                                             %0.1
                                                                                                           Watson
                            Royce Research                                                             Pharmaceuticals                                                      Watson                           Coventry                             Cobalt                     Watson Pharma
        R&D                                            Watson                                                                                      Andrx Labs             Management
   Pharmaceutical,            Group, Inc.          Laboratories, Inc.                                 International, Ltd.                                                                                 Acquisition, LLC                   Laboratories, LLC      %99.9     Private Ltd.
                                                                                                                                                                          Corporation                                                                                                                       Actavis                Watson
        Inc.                                            Ohio                                                (BVI)                                LLC (Delaware)                                             (Delaware)                          (Delaware)                       (India)
                               (Florida)1                                      WP Holdings, Ltd.                                 Circa                                     (Florida)                                                                                                                    Pharmaceuticals
                                                                                                                                                                                                                                                                                                                               Laboratories, Inc.
     (California)                                    (New York)                    (BVI)                                    Pharmaceuticals                                                                                                                                                                 NJ, Inc.             (Connecticut)
                                                                                                                               West, Inc.                                                                                                                                                                 (Delaware)
                                                                                                           Watson               12/3/97                                                                                                       Actavis Puerto                     Watson
                                                                                                                                                                                                              Natrapac, Inc.        %10 91
                                 Royce                                                                 Diagnostics, Inc.      (California)                                   Watson                                                          Rico Holdings Inc. %33.3       Laboratories, LLC
    R&D Ferrlecit                                                              Changzhou Siyao           (Delaware)                                RxAPS, Inc.                                                   (Utah)                         (Delaware)*                    (Delaware)
                               Research &               Rugby                                                                                                           Therapeutics, Inc.                                                                                                                   Watson              Schein Bayer
       Capital                                     Laboratories, Inc.   %25     Pharmaceuticals                                                     (Florida)               (Florida)
   Resources, Inc.            Development                                                                                                                                                                                                                                                               Laboratories, Inc.      Pharmaceutical
                                 Limited             (New York)                    Co., Ltd.                                                                                                                                                                                                                [Arizona]
     (California)                                                                   (China)                                                                                                                                                                                                                                      Services, Inc.
                              Partnership I                                                                                                           Andrx                                                                                                                                                (Delaware)
                                (Florida)                                                                                      Circasub                                                                                                                                                                                           (Delaware)
                                                                                                                              (New York)         Pharmaceuticals                                                                                               Actavis US
                                                                                                                                                                             Actavis                                                                           Holding LLC
                                                                                                                                                   Sales and             Laboratories FL,                                      %50.74                          (Delaware)
                                                                                   Watson                                                         Marketing, Inc.              Inc.                                                                                                                           Schein
  R&D Research &                                                               Pharmaceuticals,                                                                             (Florida)                                                                                                                    Pharmaceutical        Marsam Pharma,
   Development                                                                                                                                      (Florida)
                                                                                  China Ltd                                                                                                                                                                                                             International, Inc.     LLC (Delaware)
      Corp.                                                                         (BVI)                                                                                                        *Actavis Puerto Rico Holdings Inc. (Delaware):                                                             (Delaware)
    (California)                                                                                                                                                                                 ‐ Actavis, Inc. owns 0.29%                                    Actavis LLC
                                                                                                                                                      Andrx                                      ‐ Watson Laboratories, Inc. (Delaware) owns 0.29%             (Delaware)
                                                                                                                                                                           Andrx South
                                                                                                                                                 Pharmaceuticals,                                ‐ Actavis Pharma, Inc. (Delaware) owns %4.42                                                                Schein
                                                                               Med All Enterprise                                                                         Carolina I, Inc.                                                                                                                                         MSI Inc.
  R&D New Media                                                                                                                                        LLC                                                                                                                                               Pharmaceutical
                                                                                  Consulting                                                                             (South Carolina)                                                                                                                                         (Delaware)
   Services, Inc.                                                                                                                                  (Delaware)                                                                                                                                                 Ltd
                                                                                (Shanghai) Co.
    (California)                                                                  Ltd. (China)                                                                                                                                                 Actavis South                Actavis Elizabeth              (Bermuda)
                                                                                                                                                                                                                                                Atlantic LLC                      LLC
                                                                                                                                                      Andrx                                                                                     (Delaware)                     (Delaware)
                                                                                                                                                                              SR Six, Inc.
                                                                                                                                                 Pharmaceuticals               (Florida)
                                                                                                                                                  Equipment #1,
                                                                                                                                                       LLC                                                                                    Actavis Kadian                  Actavis Mid
                                                                                                                                                    (Florida)                                                                                      LLC                        Atlantic LLC
                                                                                                                                                                                                                                               (Delaware)                     (Delaware)
                                                                                                                                                        Andrx                 Andrx
                                                                                                                                                 Laboratories (NJ)       Pharmaceuticals
                                                                                                                                                  Inc. (Delaware)          (Mass), Inc.                                                                          Actavis
                                                                                                                                                                             (Florida)                                                                         Totowa LLC
                                                                                                                                                                                                                                                               (Delaware)

                                                                                                                                                                  Andrx
                                                                                                                                                            Pharmaceuticals,
                                                                                                                                                                (NC) Inc.
                                                                                                                                                               (Florida) 2


                                                                                                                                                                 Andrx
                                                                                                                                                            Pharmaceuticals,
                                                                                                                                                            (NC) Equipment
                                                                                                                                                                                                                                    1. Royce Research Group, Inc was merged to Royce Laboratories, Inc.(Florida)
                                                                                                                                                                  LLC
                                                                                                                                                              (Delaware)




             Confidential                                                                                                                                                                                                                                                                                TEVA_MDL_JD_000066
